Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 1 of 39 PageID: 12011




             Exhibit 37
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 2 of 39 PageID: 12012




                 INDUSTRIA DE ALIMENTOS ZENU S.A.S. VS.
                      LATINFOOD U.S. CORP., ET AL.




                              JALINE ISIDOR HORTA
                                  March 7, 2019
                                   Confidential




                                     Original File 263861.txt
                              Min-U-Script® with Word Index
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 3 of 39 PageID: 12013

                                    Confidential                           17


    1                    HORTA - CONFIDENTIAL

    2          Q.       So was it in your late 20s or early

    3   20s?

    4          A.       In my late 20s.

    5          Q.       Was it in the last three years?

    6          A.       I don't remember.
    7          Q.       If you can list for me any post

    8   high school degrees that you have and tell me

    9   where you got them from and what they're in.

   10          A.       I received a bachelor's of fine

   11   arts and an associate's degree in business from

   12   Montclair State University.

   13          Q.       If you can -- I want to discuss
   14   your employment history.          If you can tell me

   15   starting with your first job after high school

   16   what that job was, what your responsibilities

   17   were, and how long you worked at that job for.

   18          A.       My first job was at Toys R Us,

   19   where I worked there for three years, and my

   20   job was customer service.

   21          Q.       And following that?
   22          A.       I worked at TD Bank as a teller for

   23   three years as well and then after that I

   24   worked -- now I currently work at Ciabo Meat

   25   Products for about six years to present day.
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 4 of 39 PageID: 12014

                                    Confidential                           18


    1                    HORTA - CONFIDENTIAL

    2          Q.       What is your position at Ciabo

    3   Meats?

    4          A.       Marketing handler.

    5          Q.       Has that position changed over

    6   time?
    7          A.       No.

    8          Q.       What are your responsibilities as

    9   marketing handler?

   10          A.       The social media and creating

   11   advertisements for print.

   12          Q.       Other than your job at Ciabo Meats,

   13   do you hold any other jobs?
   14          A.       No.

   15          Q.       What is Vieca Import & Export?

   16          A.       It is a company that my uncle

   17   started.

   18          Q.       Do you have any responsibilities

   19   vis-a-vis Vieca Import & Export?

   20          A.       I am secretary there.

   21          Q.       Is that your official position?
   22          A.       Yes.

   23          Q.       What are your responsibilities as

   24   secretary?

   25          A.       It's undefined.
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 5 of 39 PageID: 12015

                                    Confidential                           19


    1                    HORTA - CONFIDENTIAL

    2          Q.       How many hours a week do you work

    3   there?

    4          A.       It's mixed in with Ciabo Meats.

    5   It's --

    6          Q.       What do you mean by that?
    7          A.       It's an import and export company,

    8   but we don't really do business with, like,

    9   clients all the time so it's very hard to

   10   pinpoint a certain hour -- office hours for it

   11   because it doesn't -- it's not an actual

   12   building that exists.         So we work out of Ciabo.

   13   It's like a sister company.
   14          Q.       What does -- what products does

   15   Vieca import and export?

   16          A.       We currently import cookies from

   17   Puerto Rico.

   18          Q.       Do you export anything?

   19          A.       No.   Not to my knowledge.

   20          Q.       Other than cookies, in the past

   21   what other products have you --
   22          A.       We have done Kola Real, which is a

   23   soda, and garlic --

   24          Q.       And is that also --

   25          A.       -- based -- from Dominican
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 6 of 39 PageID: 12016

                                    Confidential                           20


    1                    HORTA - CONFIDENTIAL

    2   Republic.

    3          Q.       Okay.    I was going to ask if that's

    4   also from Puerto Rico, but it seems you also

    5   import from the Dominican Republic.

    6                   Have you ever imported from
    7   Colombia?

    8          A.       No.

    9                   MS. TUFARIELLO:       If I may

   10          interrupt, please let him ask the

   11          question, answer, and then -- because you

   12          guys interrupted a couple of times and as

   13          a courtesy to the court reporter, who's
   14          trying to take all of this down, we want

   15          to make sure the transcript is clear, so

   16          let him finish the question before you

   17          give an answer.

   18          Q.       You mentioned that Vieca Import is

   19   your uncle's business?

   20          A.       Yes.

   21          Q.       What is your uncle's name?
   22          A.       Hienz Vieluf.

   23          Q.       How do you spell that?

   24          A.       H-I-E-N-Z Vieluf, V-I-E-L-U-F.

   25          Q.       What is Ciabo Meats' business?
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 7 of 39 PageID: 12017

                                    Confidential                           21


    1                    HORTA - CONFIDENTIAL

    2          A.       It is a manufacturing company.

    3          Q.       What does it manufacture?

    4          A.       Meat goods.

    5          Q.       When was it founded?

    6          A.       1969.
    7          Q.       Who founded it?

    8          A.       My grandfather founded it.

    9          Q.       What is your grandfather's name?

   10          A.       Siegfried Vieluf,

   11   S-I-E-G-F-R-I-E-D.

   12          Q.       Who currently owns it?

   13          A.       My uncle Hienz Vieluf.
   14          Q.       Who is Julio Isidor?

   15          A.       Julio Isidor is my father.

   16          Q.       Does he work at Ciabo Meats?

   17          A.       Yes, he does.

   18          Q.       What's his position?

   19          A.       He is the general manager.

   20          Q.       How many years has he been in that

   21   position?
   22          A.       I don't know.

   23          Q.       Is it more than five years?

   24          A.       Yes.

   25          Q.       More than ten years?
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 8 of 39 PageID: 12018

                                    Confidential                           22


    1                    HORTA - CONFIDENTIAL

    2          A.       Yes.

    3          Q.       More than fifteen years?

    4          A.       Yes.

    5          Q.       More than twenty years?

    6          A.       Yes.
    7          Q.       How many employees does Ciabo Meats

    8   have?

    9          A.       I don't know.

   10          Q.       Can you give me an approximation?

   11          A.       About 60.

   12          Q.       Other than your dad, do any other

   13   family members work at Ciabo Meats?
   14          A.       Yes.

   15          Q.       Who are they?

   16          A.       A lot of us.

   17          Q.       Let's just start with your

   18   immediate family.

   19          A.       My mother.

   20          Q.       Okay.    What's her name?

   21          A.       Lutzi, L-U-T-Z-I --
   22          Q.       Mm-hmm.

   23          A.       -- vieluf Isidor.

   24          Q.       Anyone else from your immediate

   25   family?
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 9 of 39 PageID: 12019

                                    Confidential                           30


    1                    HORTA - CONFIDENTIAL

    2          Q.       Was it in the last year?

    3          A.       It was not in the last year.

    4          Q.       Was it in the last two years?

    5          A.       It was not in the last two years.

    6          Q.       Was it in the year 2013?
    7          A.       Yes.    It was sometime within that

    8   year.

    9          Q.       How much was Yayi Photography paid,

   10   approximately, for the work that it did for

   11   Mr. Zuluaga or Latinfoods?

   12          A.       I don't remember.

   13          Q.       Was it more than a thousand
   14   dollars?

   15          A.       I don't remember.

   16          Q.       How did you first meet Mr. Zuluaga?

   17          A.       I first met him when he went to

   18   Ciabo Meat Products.

   19          Q.       How did he come to Ciabo Meat

   20   Products?

   21          A.       I don't know.
   22          Q.       Did you have any type of social

   23   relationship with Mr. Zuluaga prior to him

   24   coming to Ciabo Meat Products?

   25          A.       No, I did not.
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 10 of 39 PageID: 12020

                                     Confidential                           31


    1                     HORTA - CONFIDENTIAL

    2          Q.       Did anyone in your immediate family

    3    have a social relationship with Mr. Zuluaga?

    4          A.       I don't know.

    5          Q.       Did anyone in your family,

    6    immediate family, have a business relationship
    7    with Mr. Zuluaga?

    8          A.       I don't know.

    9          Q.       When did Ciabo start working with

   10    Mr. Zuluaga?

   11          A.       Sometime in 2013.

   12          Q.       What did Mr. Zuluaga come to Ciabo

   13    Meats for?
   14          A.       Mr. Zuluaga wanted us to do a

   15    private label for him.

   16          Q.       What do you mean by "private

   17    label"?

   18          A.       Since we are manufacturers, we have

   19    our own label, which is Ciabo Meat Products,

   20    and we offer our services to other companies

   21    that also want a similar product like ours.
   22          Q.       So is it where Ciabo Meats produces

   23    the products but then it's under a different

   24    company's brand?

   25          A.       Something like that.         It's more
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 11 of 39 PageID: 12021

                                     Confidential                           32


    1                     HORTA - CONFIDENTIAL

    2    like if they have their own recipe, then we

    3    will try to our best abilities replicate the

    4    recipe that they come with or we offer some

    5    recipes that we already have that are staple to

    6    manufacture the product that they want.
    7           Q.      Who at Ciabo Meats worked with

    8    Mr. Zuluaga and Latinfoods?

    9           A.      I worked with him, Julio Isidor

   10    worked with him.       I'm not sure if anyone else

   11    did.

   12           Q.      Other than Mr. Zuluaga, was there

   13    anyone at Latinfoods that you worked with?
   14           A.      Not to my knowledge.

   15           Q.      And then other than Mr. Zuluaga,

   16    was there anyone at Latinfoods that Julio

   17    worked with?

   18           A.      Not to my knowledge.

   19           Q.      What did Mr. Zuluaga -- what was

   20    his request when he came to Ciabo Meats?

   21           A.      He wanted to do sausages at our
   22    company.

   23           Q.      Did he explain what type of

   24    sausages?

   25           A.      Chorizo, sausage links, and salami.
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 12 of 39 PageID: 12022

                                     Confidential                           33


    1                     HORTA - CONFIDENTIAL

    2          Q.       How did you communicate with

    3    Mr. Zuluaga?

    4          A.       Mainly by phone and some e-mails

    5    exchanged,

    6          Q.       Did you ever use text message?
    7          A.       No, I did not.

    8          Q.       When you were actively working on

    9    this project with him, how often did you

   10    communicate?

   11          A.       I don't remember.

   12          Q.       Was it daily?

   13          A.       I don't remember.
   14          Q.       Was it weekly?

   15          A.       I don't remember.

   16          Q.       Now, in addition to actually

   17    creating the meat products, did Mr. Zuluaga

   18    also ask you to create labels and package

   19    designs?

   20                   MS. TUFARIELLO:       Objection.      I

   21          don't think the witness indicated that
   22          Mr. Zuluaga asked them to create the meat

   23          products.      You're misstating testimony.

   24          Can you re-ask the question, please?

   25          Q.       In addition to Mr. Zuluaga asking
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 13 of 39 PageID: 12023

                                     Confidential                           34


    1                     HORTA - CONFIDENTIAL

    2    you to manufacture meat products, did you also

    3    create the labels and packaging designs?

    4          A.       Yes, I did.

    5          Q.       Now, how many Latinfoods products

    6    did you design the labels for?
    7          A.       I don't remember.

    8          Q.       Do you remember the brand names

    9    that you were asked to design labels for?

   10          A.       Yes.

   11          Q.       And what were they?

   12          A.       Zenu Salchichon Tradicional, Zenu

   13    Ceveroni --
   14          Q.       Let me just stop you.         I'm not

   15    asking for the specific products but the brand

   16    names.     So Zenu is one brand name?

   17          A.       Then Zenu, that's it.

   18          Q.       Were you asked to do any work under

   19    the Ranchera brand?

   20          A.       Yes, I was.

   21          Q.       Other than Zenu and Ranchera, were
   22    you asked to do work on any other brands for

   23    Latinfoods?

   24          A.       No, I was not.

   25          Q.       Does Ciabo Meats still work with
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 14 of 39 PageID: 12024

                                     Confidential                           35


    1                     HORTA - CONFIDENTIAL

    2    Mr. Zuluaga?

    3           A.      Yes.    Ciabo Meats still does.

    4           Q.      Does Yayi Photography still do work

    5    for Mr. Zuluaga?

    6           A.      No, Yayi Photography does not.
    7           Q.      When did Yayi Photography stop

    8    doing work for him?

    9           A.      Sometime in 2013.

   10           Q.      Why did you stop doing work for

   11    him?

   12           A.      The job was finished.

   13           Q.      Do you hold any ownership interest
   14    in Latinfoods?

   15           A.      No, I do not.

   16           Q.      Does your dad own any ownership

   17    interest or investment in Latinfoods?

   18           A.      Not to my knowledge.

   19           Q.      Does anyone at Ciabo Meats own any

   20    ownership interest or have an investment in

   21    Latinfoods?
   22           A.      Not to my knowledge.

   23           Q.      Did Yayi Photography start doing

   24    work for Mr. Zuluaga at the same time that

   25    Ciabo Meats started doing work for him?
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 15 of 39 PageID: 12025

                                     Confidential                           39


    1                     HORTA - CONFIDENTIAL

    2    products or brands in Colombia?

    3          A.       I'm sorry, repeat it one more time.

    4                   MR. KADOSH:      Try reading it back.

    5                   (The record is read back by the

    6          reporter.)
    7                   MS. TUFARIELLO:       Objection.

    8          A.       No.

    9                   MS. TUFARIELLO:       Can we take a

   10          break, please?

   11                   MR. KADOSH:      Sure.      Like a quick

   12          break or --

   13                   MS. TUFARIELLO:       Very, very quick.
   14          Two minutes.

   15                   MR. KADOSH:      Sure.

   16                   (A brief recess was taken from

   17          10:57 a.m. to 10:59 a.m.)

   18                   MR. KADOSH:      Back on the record.

   19          Q.       Just going back to the question,

   20    what did Mr. Zuluaga tell you about the Zenu

   21    brand?
   22                   MS. TUFARIELLO:       Objection.      Can

   23          you get a little bit more specific?

   24          Because what did he --

   25                   MR. KADOSH:      I just want anything
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 16 of 39 PageID: 12026

                                     Confidential                           40


    1                     HORTA - CONFIDENTIAL

    2          she can recall.

    3                   MS. TUFARIELLO:       What time period?

    4          At the beginning?        At the end?      In

    5          between?     Calls for a narrative.

    6                   MR. KADOSH:      We're now at the start
    7          of the relationship.

    8                   MS. TUFARIELLO:       So at the very

    9          beginning?

   10                   MR. KADOSH:      Yes.

   11          A.       I don't know -- can you repeat the

   12    question again question?

   13          Q.       Sure.    What did Mr. Zuluaga tell
   14    you about the Zenu brand?

   15          A.       That it was very popular in

   16    Colombia.

   17          Q.       What work did Mr. Zuluaga want in

   18    connection with the Zenu brand?

   19                   MS. TUFARIELLO:       Objection, asked

   20          and answered.       Answer the question.

   21          A.       He wanted us, as in Ciabo Meat
   22    Products, to manufacture products for him.

   23          Q.       Then did he also ask you to design

   24    labels --

   25                   MS. TUFARIELLO:       Objection.
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 17 of 39 PageID: 12027

                                     Confidential                           41


    1                     HORTA - CONFIDENTIAL

    2          Q.       -- for his Zenu products?

    3                   MS. TUFARIELLO:       I'm sorry.       I

    4          didn't mean to interrupt.            Ask who?    Ask

    5          Ciabo?     Ask Yayi?     You're commingling now

    6          everything.
    7          Q.       Did he ask Yayi?

    8          A.       Yes, he did.

    9          Q.       Did Mr. Zuluaga give you any

   10    examples of the labels that he wanted you to

   11    design?

   12          A.       Yes, he did.

   13          Q.       What did he give you?
   14          A.       He told us the website,

   15    zenu.com.co.

   16          Q.       What did you understand that

   17    website to be?

   18          A.       His website.

   19          Q.       It was your understanding that

   20    zenu.com.co was a website that was operated by

   21    Mr. Zuluaga?
   22          A.       No.

   23          Q.       What was your understanding as to

   24    who owned or operated that website?

   25          A.       It was my impression, not
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 18 of 39 PageID: 12028

                                     Confidential                           42


    1                     HORTA - CONFIDENTIAL

    2    understanding, my impression.

    3          Q.       So it was your impression that

    4    Mr. Zuluaga owned or operated the zenu.com.co

    5    website?

    6          A.       Yes.
    7          Q.       How did you form that impression?

    8          A.       Because he told us to go to the

    9    website to look at it.

   10          Q.       Did he tell you that he owned or

   11    operated the website?

   12          A.       No, he did not.

   13          Q.       Now, in terms of making the meat
   14    products for the Zenu brand, did Mr. Zuluaga

   15    give you the recipe?

   16          A.       No, he did not.

   17          Q.       What instructions did he give you

   18    in terms of creating the meat products?

   19          A.       We gave him some of our samples so

   20    he can taste it to see which one was close.

   21                   MR. KADOSH:      I want to mark this as
   22          Exhibit 3.

   23                   (E-mail Bates stamped CIB-000001 to

   24          000002 was marked Exhibit 3 for

   25          identification, as of this date.)
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 19 of 39 PageID: 12029

                                     Confidential                           43


    1                     HORTA - CONFIDENTIAL

    2          Q.       Ms. Horta, you've been handed a

    3    document that has been marked Exhibit 3, it

    4    bears the Bates No. CIB-000001 to 000002.              The

    5    first page of the document is written in

    6    Spanish, do you read Spanish?
    7          A.       Yes, I do.

    8          Q.       Okay.    In case you have any

    9    difficulty, there's also a translation that was

   10    provided by your attorney on the second page,

   11    at least with respect to the top e-mail.              If

   12    you could just take a moment to review the

   13    document.     We'll work off of the translation
   14    just to make things simpler.

   15                   So this is an e-mail from

   16    Mr. Zuluaga to jisidor@ciabomeat.com, is

   17    jisidor@ciabomeat -- is that your dad's e-mail

   18    address?

   19          A.       Yes, it is.

   20          Q.       In the first paragraph of the

   21    e-mail Mr. Zuluaga writes, "I'm writing to let
   22    know that I'm going to have products sent

   23    directly from Colombia to you so that you can

   24    have the ingredients in your hand, flavor, et

   25    cetera."
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 20 of 39 PageID: 12030

                                     Confidential                           48


    1                     HORTA - CONFIDENTIAL

    2          on the record.

    3          A.       I answered it before.

    4          Q.       What I'm trying to establish now is

    5    when that conversation that you had with

    6    Mr. Zuluaga where he told you to look at the
    7    website -- when that happened in time relative

    8    to this e-mail and my question is whether that

    9    conversation where he told you to look at the

   10    website happened before you sent this e-mail.

   11                   MS. TUFARIELLO:       Objection.      Your

   12          question assumes facts not in evidence.

   13          When you asked -- when the witness
   14          testified, she said Mr. Zuluaga directed

   15          us to go to the website, she did not

   16          testify that there was a conversation.

   17          You're assuming that just because

   18          Mr. Zuluaga directed that there was a

   19          conversation.       Perhaps you may want to

   20          rephrase the question.

   21                   MR. KADOSH:      I don't, because any
   22          direction to do something necessarily

   23          implies some communication, whether it is

   24          verbal or written.

   25                   MS. TUFARIELLO:       But you haven't
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 21 of 39 PageID: 12031

                                     Confidential                           49


    1                     HORTA - CONFIDENTIAL

    2          laid the foundation to whom the

    3          communication was with.          Maybe it was not

    4          directly with the witness and it was with

    5          somebody else and somebody else directed

    6          her.    You haven't laid the foundation.
    7          Q.       Please just answer the question.

    8          A.       Can you please repeat the question?

    9                   (The record is read back by the

   10          reporter.)

   11          A.       I don't remember.

   12          Q.       Now, the next line down you say,

   13    "Do you have permission to use their images?"
   14    When you're referring to "their images," who

   15    are you referring to?

   16          A.       The website.

   17          Q.       Now, if you were under the

   18    impression that it was his website, why would

   19    you be asking him whether he had permission to

   20    use the images from his own website?

   21          A.       I don't remember.
   22          Q.       Isn't it true that you were asking

   23    him whether he had permission to use their

   24    images because the website was actually

   25    operated by the Colombian Zenu?
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 22 of 39 PageID: 12032

                                     Confidential                           50


    1                     HORTA - CONFIDENTIAL

    2          A.       I don't remember.

    3          Q.       You then ask, "Especially for label

    4    purposes."     Why is it significant that you're

    5    using images from the Zenu website for label

    6    purposes?
    7                   MS. TUFARIELLO:       Objection.      That's

    8          not -- I'm confused.         Can you answer the

    9          question?

   10          A.       Can you please repeat it?

   11                   (The record is read back by the

   12          reporter.)

   13                   MS. TUFARIELLO:       Objection.
   14          A.       I stated in the e-mail why.

   15          Q.       Please elaborate.

   16                   MS. TUFARIELLO:       Read it.

   17          A.       Okay.    "If not, there can be

   18    lawsuits from the company to you for using

   19    their images without permission."

   20          Q.       Okay.    And when you say that there

   21    can be lawsuits from the company, isn't it true
   22    that you're referring to the company that

   23    operates the zenu.com.co website?

   24          A.       Yes.

   25          Q.       And isn't it also clear that that
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 23 of 39 PageID: 12033

                                     Confidential                           51


    1                     HORTA - CONFIDENTIAL

    2    company is someone other than Mr. Zuluaga?

    3                   MS. TUFARIELLO:       Objection as to

    4          characterization.        What is your question?

    5          Q.       Just answer my question.

    6          A.       I don't remember.
    7          Q.       So you can't recall why you asked

    8    Mr. Zuluaga whether he'd be concerned about

    9    lawsuits if you used images from the

   10    zenu.com.co website?

   11          A.       This was six years ago.          I don't

   12    remember.

   13          Q.       Did Mr. Zuluaga tell you that he
   14    had permission?

   15          A.       I don't remember.

   16          Q.       How did Mr. Zuluaga respond to the

   17    concern about lawsuits?

   18          A.       I don't remember.

   19          Q.       If you can turn to the next page.

   20    Starting from the top it says, "In terms of the

   21    Salchichon:      first, we had the Cervecero
   22    Premium using the Ciabo Meat Campesino Salami

   23    because you said it was close to its taste."

   24                   What are you discussing in this

   25    sentence?
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 24 of 39 PageID: 12034

                                     Confidential                           52


    1                     HORTA - CONFIDENTIAL

    2          A.       The flavor of the products of

    3    Ciabo's products to the ones that he wants us

    4    to manufacture.

    5          Q.       So there was a product called

    6    Cervecero Premium, is that a product that
    7    Mr. Zuluaga was asking you to manufacture?

    8          A.       Yes.

    9          Q.       And you wanted to use a particular

   10    Ciabo Meat product, the Campesino Salami; isn't

   11    that correct?

   12          A.       Yes.

   13          Q.       And the reason you wanted to use
   14    the Campesino Salami product is because you

   15    said it was close to its taste, what is the

   16    "its" referring to over here?

   17          A.       The taste of the product.          We're

   18    referring to the taste of the product based on

   19    what Zuluaga thinks is the taste for that

   20    product.

   21          Q.       Isn't it true that it's referring
   22    to the taste of the Colombian Zenu product with

   23    the same name?

   24          A.       Yes.

   25          Q.       Let's read on.       "Then changed your
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 25 of 39 PageID: 12035

                                     Confidential                           53


    1                     HORTA - CONFIDENTIAL

    2    mind to using Tradicional, which is Ciabo Meat

    3    Del Pueblo Salami."

    4                   What is being conveyed in this

    5    sentence?

    6          A.       Tadicional is another product that
    7    he wants us to manufacture.          Ciabo Meat Del

    8    Pueblo is a product that Ciabo makes and that's

    9    another recipe.

   10          Q.       Isn't it true that here too

   11    Mr. Zuluaga was asking you to try to copy or

   12    mimic the taste of the Colombian Zenu product

   13    that goes by the same name?
   14          A.       I don't know.

   15          Q.       Isn't it true that the Colombian

   16    Zenu makes a product called Tadicional, a

   17    salchichon product named Tadicional?

   18          A.       I don't remember.

   19          Q.       You were on their website earlier

   20    that same day looking at labels?

   21          A.       Yes.    On that day, but I today
   22    can't remember.       Maybe if it was around the

   23    time frame when it happened, I could remember,

   24    but I don't remember at this time.            I cannot

   25    recall.
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 26 of 39 PageID: 12036

                                     Confidential                           60


    1                     HORTA - CONFIDENTIAL

    2          answer, please?

    3                   (The record is read back by the

    4          reporter.)

    5                   MR. KADOSH:      Mark this, please.

    6                   (Image of label was marked Exhibit
    7          6 for identification, as of this date.)

    8          Q.       I've handed you a document that's

    9    been marked Exhibit 6, you can take a moment to

   10    review it and also open up Exhibit 5 to that

   11    first label and if you can just put them side

   12    by side.

   13                   MS. TUFARIELLO:       Counsel, you're
   14          talking about the label that's reflected

   15          on page No. Latin 278?

   16                   MR. KADOSH:      Yes, correct.

   17          Q.       What you've been handed and what's

   18    been marked as Exhibit 6 is an image of a label

   19    from the chorizos that are manufactured by the

   20    Colombian Zenu.

   21                   MS. TUFARIELLO:       Is that your
   22          testimony?      Is that what you're saying?

   23          Because there's really --

   24                   MR. KADOSH:      That is my

   25          representation.
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 27 of 39 PageID: 12037

                                     Confidential                           61


    1                     HORTA - CONFIDENTIAL

    2                   MS. TUFARIELLO:       Okay.

    3          Q.       You can also see in the bottom

    4    corner a little circle that says "Nutreza,"

    5    which is one of the parent companies of the

    6    Colombian Zenu.       Now, just going to your label
    7    for a moment, where did you get the idea to

    8    write Zenu in red letters like this?

    9          A.       That was the client's logo.

   10          Q.       So the client -- so the client, and

   11    that is Mr. Zuluaga, provided you with a design

   12    of the Zenu?

   13          A.       No, he did not.
   14          Q.       Did you develop it?

   15          A.       Yayi Photography developed it based

   16    on Zuluaga's instructions.

   17          Q.       And what were Mr. Zuluaga's

   18    instructions?

   19          A.       That he wanted it to look similar

   20    to that, the -- the Zenu of Colombia.

   21          Q.       The Zenu of Colombia.         And then
   22    moving down a little bit on the label, do you

   23    see where it says "Chorizo Colombiano" in white

   24    letters in a black box?

   25                   MS. TUFARIELLO:       Which document are
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 28 of 39 PageID: 12038

                                     Confidential                           62


    1                     HORTA - CONFIDENTIAL

    2          you referring to?

    3                   MR. KADOSH:      I'm referring to Latin

    4          278, the label that was designed by Yayi

    5          Photography.

    6          Q.       Do you see where in the label it
    7    says "Chorizo Colombiano" in white letters in a

    8    kind of black box at the edge?

    9          A.       Yes.

   10          Q.       How did you develop that idea?

   11          A.       Based on the chorizo from the

   12    zenu.com.co.

   13          Q.       Okay.    So it's your testimony that
   14    you saw a label, a chorizo label, on the

   15    zenu.com.co website and you tried to mimic the

   16    label that you were developing for Mr. Zuluaga

   17    based on the image that you saw on that

   18    website?

   19          A.       Can you repeat that one more time,

   20    please?

   21                   MR. KADOSH:      Please.
   22                   (The record is read back by the

   23          reporter.)

   24          A.       One more time.

   25                   (The record is read back by the
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 29 of 39 PageID: 12039

                                     Confidential                           63


    1                     HORTA - CONFIDENTIAL

    2          reporter.)

    3          A.       Could you rephrase the question,

    4    please?

    5          Q.       Sure.    I asked you how you came

    6    about a design element on the label that you
    7    designed, and the specific design element that

    8    I was asking you about was the black box with

    9    the white lettering that says "Chorizo

   10    Colombiano" and my question to you was how did

   11    you come up with this design element of the

   12    black box with the white lettering and what is

   13    your answer?
   14          A.       Based on Wilson's direction and the

   15    website of zenu.com.co to try to have something

   16    similar.

   17          Q.       So Wilson Zuluaga's direction was

   18    to try to make the labels that you were

   19    designing similar to the labels that you saw on

   20    the zenu.com.co website?

   21          A.       Correct.
   22          Q.       Let's move on to the next page of

   23    your labels, so Latin 279.

   24                   MS. TUFARIELLO:       Still on Exhibit

   25          5?
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 30 of 39 PageID: 12040

                                     Confidential                           64


    1                     HORTA - CONFIDENTIAL

    2                   MR. KADOSH:      Yes.

    3          Q.       Is this a label that you designed?

    4          A.       Yes, it is.

    5          Q.       And how did you come up with the

    6    design for this label?
    7          A.       Similar answer as to the one

    8    before, based on Zuluaga's instructions.

    9          Q.       And Mr. Zuluaga's instructions were

   10    to design the labels based on the images that

   11    you saw in the zenu.com.co website?

   12          A.       Yes.

   13          Q.       Latin 280, is this a -- I forgot
   14    the term that you used for it, it's not a

   15    label.     What is it?

   16          A.       A casing.

   17          Q.       Is this a casing that you designed?

   18          A.       Yes, it is.

   19          Q.       How did you come up with the design

   20    for this casing?

   21          A.       Based on Zuluaga's direction.
   22          Q.       And Zuluaga's direction was to try

   23    to mimic images that you had seen on the

   24    zenu.com.co website?

   25          A.       Correct.
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 31 of 39 PageID: 12041

                                     Confidential                           65


    1                     HORTA - CONFIDENTIAL

    2                   MR. KADOSH:      Mark this, please.

    3                   (Documents Bates No. CIB 0029 to

    4          0039 were marked Exhibit 7 for

    5          identification, as of this date.)

    6          Q.       Ms. Horta, you've been handed a
    7    document that's been marked Exhibit 7, it

    8    starts with the Bates No. CIB 0029 and ends at

    9    0039, if you can take a moment to review the

   10    document.

   11                   Now, this document, the first page

   12    of it, is an e-mail from you to Mr. Zuluaga on

   13    the bottom half of the page; is that correct?
   14          A.       Yes.

   15          Q.       And then the top is an e-mail from

   16    Mr. Zuluaga to you --

   17          A.       Yes.

   18          Q.       -- and your dad is copied on both

   19    of them.     These e-mails are sent -- this

   20    e-mail -- both of these e-mails are dated

   21    October 24th, which means they're about a week
   22    after the e-mail that we just looked at in

   23    Exhibit 5; isn't that correct?

   24          A.       Yes.

   25          Q.       And you say, "Attached are all the
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 32 of 39 PageID: 12042

                                     Confidential                           66


    1                     HORTA - CONFIDENTIAL

    2    images that will be used for your product line.

    3    Please send me an e-mail with the word

    4    'approved' for all the images here" and then

    5    what does Mr. Zuluaga respond to you in the top

    6    e-mail?
    7          A.       "All images are hereby approved."

    8          Q.       Now, I want to just compare some of

    9    these labels with the images in Exhibit 5.               So

   10    if you can take Exhibit 5 and have that on one

   11    side of your page and so let's start by

   12    comparing in Exhibit 5, 278, to the attachment

   13    to this e-mail, which is CIB 0031.
   14                   These are basically the same label;

   15    is that correct?

   16          A.       Yes, that is correct.

   17          Q.       And so Mr. Zuluaga was approving

   18    this label?

   19          A.       Yes, he was.

   20          Q.       We can move in Exhibit 5 to 279 and

   21    then compare that to CIB 33.           These are also
   22    basically the same label; isn't that correct?

   23          A.       Yes, that is correct.

   24          Q.       And Mr. Zuluaga approved that

   25    label?
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 33 of 39 PageID: 12043

                                     Confidential                           67


    1                     HORTA - CONFIDENTIAL

    2          A.       Yes, he did.

    3          Q.       Then if you move to Latin 280 in

    4    Exhibit 5 and compare that to CIB 37, these are

    5    also basically the same label; isn't that

    6    correct?
    7          A.       Yes, that is correct.

    8          Q.       And Mr. Zuluaga approved that

    9    label; isn't that correct?

   10          A.       Yes, he did.

   11                   MR. KADOSH:      Mark this, please.

   12                   (Image of label was marked Exhibit

   13          8 for identification, as of this date.)
   14          Q.       You've been handed a document

   15    marked Exhibit 8.       This is a document that your

   16    attorney had produced to us and I wanted to

   17    know if you recognize this label.

   18          A.       Yes, I do.

   19          Q.       What is this label?

   20          A.       A Ranchera label.

   21          Q.       Is this a label that you designed?
   22          A.       No, it is not.

   23          Q.       So where did you receive this

   24    label?

   25          A.       Zuluaga brought it to our office.
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 34 of 39 PageID: 12044

                                     Confidential                           68


    1                     HORTA - CONFIDENTIAL

    2          Q.       Why did Mr. Zuluaga give you this

    3    label?

    4          A.       To see if we could match the taste

    5    of this product.

    6          Q.       Did he also ask you to develop a
    7    label whose design was similar to this label?

    8          A.       I don't remember.

    9          Q.       Why did you hold on to this label?

   10          A.       I wanted to see if I could find a

   11    font similar to like the little -- that cowboy

   12    font that they use for Ranchera.

   13          Q.       And why did you want to see if you
   14    could find that font?

   15          A.       Because he wanted us to do a

   16    product Ranchera.

   17          Q.       A Ranchera product?

   18          A.       Correct.

   19          Q.       And he wanted you to use a similar

   20    font?

   21          A.       He didn't specify.
   22          Q.       Okay.    So it was at your own

   23    initiative?

   24          A.       Yes.    So I can use that when I did

   25    a design for him for that label.
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 35 of 39 PageID: 12045

                                     Confidential                           69


    1                     HORTA - CONFIDENTIAL

    2          Q.       Did he tell you anything else about

    3    what he wanted for the Ranchera label?

    4          A.       A western look.

    5          Q.       Did he specifically ask that there

    6    be pictures of people at a campfire?
    7          A.       I don't remember.

    8          Q.       Did he ask that the Ranchera name

    9    appear in red surrounded by a white and black

   10    border?

   11          A.       I don't remember.

   12          Q.       Now, did there come a time in 2017

   13    when Mr. Zuluaga reached out to you about
   14    trying to obtain documents?

   15          A.       Yes, he did.

   16          Q.       Tell me what you recall about that

   17    conversation.

   18          A.       My --

   19          Q.       By conversation I mean in any way,

   20    e-mail, text, phone.

   21          A.       It was a phone call.         I don't
   22    remember the conversation per se, but I know he

   23    did contact me.

   24          Q.       And what did he ask for in that

   25    conversation?
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 36 of 39 PageID: 12046

                                     Confidential                           83


    1                     HORTA - CONFIDENTIAL

    2    you have the original image files for these

    3    pictures?

    4          A.       Correct.

    5          Q.       Is there anything more that you're

    6    trying to say in this e-mail other than -- in
    7    the sentences that we're discussing other than

    8    that you actually took the images that appeared

    9    on these packages?

   10                   MS. TUFARIELLO:       Objection.

   11          A.       Can you repeat the question,

   12    please?

   13                   (The record is read back by the
   14          reporter.)

   15                   MS. TUFARIELLO:       Objection.

   16          A.       Can you rephrase the question,

   17    please?

   18          Q.       Sure.    I'm trying to understand

   19    what you're saying in this January 30, 2018,

   20    e-mail, and to my understanding, and I'd like

   21    you to correct that if it's wrong, you're
   22    telling Mr. Zuluaga that you recall that there

   23    were discussions back and forth on the phone

   24    about whether -- about replicating the images

   25    from the company; is that correct?
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 37 of 39 PageID: 12047

                                     Confidential                           84


    1                     HORTA - CONFIDENTIAL

    2          A.       No, that is not correct.          What I'm

    3    saying is that I recall we spoke a lot on the

    4    phone and the images that you're referring to

    5    are -- as Yayi Photography photographs that I

    6    took myself of the plates used in the design of
    7    the labels.

    8                   MR. KADOSH:      Can you just read back

    9          the last answer?

   10                   (The record is read back by the

   11          reporter.)

   12          Q.       When you say, "I know the comment

   13    of trying to replicate the images from the
   14    company," what company were you referring to?

   15          A.       Zenu.com.co.

   16          Q.       Now, in this time period that we're

   17    discussing of, you know, starting from December

   18    2017 including the time that these e-mails

   19    happened, which is January 2018 and up until,

   20    you know, this deposition, did you have any

   21    communications with Mr. Zuluaga by phone?
   22          A.       Probably.      After all, he is a

   23    client of Ciabo Meats.         I just can't recall a

   24    specific day or time.

   25          Q.       What were those conversations
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 38 of 39 PageID: 12048

                                     Confidential                           85


    1                     HORTA - CONFIDENTIAL

    2    about?

    3          A.       His orders, when he places an

    4    order.

    5          Q.       Did you discuss the lawsuit at all?

    6          A.       Never.
    7          Q.       Did he tell you about the lawsuit?

    8          A.       Before I was subpoenaed.

    9          Q.       What did he tell you?

   10          A.       That he was being sued, but he did

   11    not go into detail.

   12          Q.       Did he tell you that the suit was

   13    in connection with some products that you
   14    helped design?

   15          A.       No.    He did not go into detail.

   16          Q.       So you didn't know that the lawsuit

   17    was in connection with labels that you helped

   18    design?

   19          A.       I did not.      Until I got subpoenaed.

   20          Q.       Now, when you spoke to Mr. Zuluaga

   21    on the phone, was that on your business line or
   22    your cell phone?

   23          A.       Business line only.

   24          Q.       So he never called your cell phone?

   25          A.       Never.
Case 2:16-cv-06576-KM-MAH Document 266-37 Filed 10/10/22 Page 39 of 39 PageID: 12049

                                     Confidential                         115


    1                     C E R T I F I C A T E
    2

    3    STATE OF NEW YORK       )

    4                            )
    5    COUNTY OF NEW YORK )

    6

    7          I, MICHELE MOSKOWITZ, a Shorthand Reporter
    8    and Notary Public within and for the State of

    9    New York, do hereby certify:
   10          That JALINE ISIDOR HORTA, the witness

   11    whose examination is hereinbefore set forth,

   12    was duly sworn by me and that this transcript
   13    of such examination is a true record of the

   14    testimony given by such witness.

   15          I further certify that I am not related to

   16    any of the parties to this action by blood or
   17    marriage and that I am in no way interested in

   18    the outcome of this matter.

   19          IN WITNESS WHEREOF, I have hereunto set my

   20    hand this 11th day of March, 2019.

   21

   22

   23

   24    _______________________

   25    MICHELE MOSKOWITZ
